         Case 2:08-cr-00123-JAM Document 97 Filed 06/17/10 Page 1 of 1


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 7
                                   UNITED STATES DISTRICT COURT
 8
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     United States of America,                      )    Case No.: Cr.S-08-123-GEB
11                                                  )
                      Plaintiff,                    )    ORDER FOR CONTINUANCE OF
12                                                  )    SENTENCING
            vs.                                     )
13                                                  )    Date: June 18, 2010
     Serafin Gonzalez,                              )    Time: 9:00 a.m.
14                                                  )    Judge: Hon. Garland E. Burrell, Jr.
                      Defendant                     )
15                                                  )
                                                    )
16                                                  )
                                                    )
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18          GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
19   sentencing in the above-captioned action is continued from June 18, 2010 at 9:00 a.m. to July
20
     16, 2010 at 9:00 a.m..
21
     IT IS SO ORDERED.
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23   Dated: 6/16/10
                                               GARLAND E. BURRELL, JR.
                                               United States District Judge
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